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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                         *
                                                  *
                      Plaintiff,                  *
vs.                                               *       No. 4:08cr00317 SWW
                                                  *
                                                  *
CRAIG A. HAGERTY and                              *
ANGELA L. HAGERTY,                                *
                                                  *
                      Defendants.                 *

                                                ORDER

       Defendant Angela L. Hagerty has filed in camera a financial affidavit which, on its face,

indicates eligibility for appointed counsel. Therefore, Magistrate Judge Deere’s Order entered

February 5, 2009 [doc.#24] appointing Jason D. Files as counsel for defendant Angela L. Hagerty

is hereby affirmed and shall remain in place.

       In the event it is determined that Ms. Hagerty is not entitled to appointed counsel, the

necessary steps shall be taken in order that Ms. Hagerty reimburse the government and/or Mr.

Files for the cost of the representation provided by Mr. Files.



               IT IS SO ORDERED this 20th day of April 2009.

                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
